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      Exhibit G
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                 Case 1:20-cv-00560-RP Document 113-7 Filed 09/29/21 Page 4 of 4

Dan Gattis

From:                               Mike Jones <mjones@henryandjones.com> on behalf of Mike Jones
Sent:                               Saturday, August 24, 2019 8:25 AM
To:                                 Dan Gattis
Subject:                            RE: Stratton/El Campo Settlement Discussion



Dan:

M y let ter to you yesterday incorrectly listed the deadline for accepting Stratton's settlement offer as September 30. The
dead line is 5:00 p.m. on August 30, 2019.

Mike


From: Mike Jones
Sent: Friday, August 23, 2019 1:55 PM
To: Dan Gattis
Subject: RE: Stratton/El campo Settlement Discussion

Dan:

Please see the attached letter.

M ichael L. Jones
Henry & Jones, L.L.P.
16901 Dallas Par kway, Suite 202
Addison, Texas 75001
214.954.9704

PLEASE NOTE OUR NEW ADDRESS

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an emall to: mjones@henryandjones.com.




From: Dan Gattis [mailto:dgattis@gattislaw.com]
Sent: Friday, August 23, 2019 8:59 AM
To: Mike Jones <mjones@henryandjones.com>
Subject: Re: Stratton/El Campo Settlement Discussion

Thanks. Have a good weekend.




                                                                                                         El Campo 00124
